 4:08-cr-03059-RGK-DLP       Doc # 88     Filed: 01/12/09    Page 1 of 1 - Page ID # 315




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE D ISTRICT OF N EBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )
                                                )
v.                                              )      Case No. 4:08CR3059
                                                )
JAYRO A. FLORES,                                )
                                                )
                           Defendant.           )

                                         ORDER

      THIS MATTER comes before this Court on defendant's Motion to Continue his

Sentencing Statement, filing 87. The Court, being fully advised in the premises, finds that

said Motion should be granted.

      IT IS THEREFORE ORDERED that the defendant shall file his Sentencing

Statement no later than Wednesday, January 14, 2009.

      Dated this 12th day of January, 2009.

                                                BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge
